Case 1:16-cv-01321-RLY-MPB Document 31 Filed 03/15/17 Page 1 of 1 PageID #: 129



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA


 SPINE & SPORTS CHIROPRAFTIC, INC.,               )
 individually and as the representative of a      )
 class of similarly-situated persons,             )
                                                  )   No.   1:16-CV-01321
                               Plaintiff,         )
                v.                                )
                                                  )
 ADVANTAGE MEDICAL EQUIPMENT &                    )
 SUPPLY, INC., and JOHN DOES 1-10,                )
                                                  )
                               Defendants.        )

                                    ORDER OF DISMISSAL

        Pursuant to Joint Stipulation of Dismissal (Doc. #30) filed by the Parties on March 13,

 2017; this matter is hereby dismissed without prejudice.



        SO ORDERED THIS 15TH DAY OF MARCH, 2017.


                                               ____________________________
                                               Matthew P. Brookman
                                               United States Magistrate Judge
                                               Southern District of Indiana




    Distributed Electronically to Registered Counsel of Record
